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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       Case No. 21-cr-00053 (CJN)
                                             :
               v.                            :
                                             :
EDWARD JACOB LANG                            :


                                      NOTICE OF FILING

        The government requests that the attached status report on discovery in Capitol Riot
cases, dated July 20, 2021, be made part of the record in this case, as the last paragraph in page
three through the remainder of the filing provide a comprehensive review of discovery efforts in
Capitol Riot cases as of the date of filing.

                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney


                                              By:    _/s/ Melissa Jackson______________
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